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      Attorneys for Plaintiff and the Proposed Class
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      [Additional Counsel Listed on Signature Page]
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 9
                             UNITED STATES DISTRICT COURT
                            CENTRAL DISTRICT OF CALIFORNIA
10
                                   EASTERN DIVISION

11    WAYNE SAMP, ROBERTA SAMP,      )             CASE NO. 5:11-CV-01950 VAP-SP
      DANIEL KOMARCHUK, SUSAN        )
12
                                     )
      KOMARCHUK, and ANNETTA         )             Hon. Virginia A. Phillips
13
                                     )
      WHITAKER, individually and on behalf
                                     )
      of all others similarly situated,
                                     )             PLAINTIFFS’ NOTICE OF MOTION
14
                                     )
                                     )             AND MOTION TO STAY ACTION AS
15                   Plaintiffs,     )             TO DEFENDANTS MORTGAGE
                                     )
16
                                     )             GUARANTY INSURANCE CORP.,
               v.                    )             PMI MORTGAGE INSURANCE CO.,
17
                                     )             RADIAN GUARANTY INC. AND
      JPMORGAN CHASE BANK, N.A.,     )
18
                                     )             TRIAD GUARANTY INSURANCE
      CHASE BANK USA, N.A., JPMORGAN )             CORP. PENDING THE UNITED
19
      CHASE & CO., CROSS COUNTRY     )
                                     )             STATES SUPREME COURT’S
20    INSURANCE COMPANY, UNITED      )             DECISION IN FIRST AMERICAN
21
      GUARANTY RESIDENTIAL           )             FINANCIAL CORP. V. EDWARDS
      INSURANCE CO., PMI MORTGAGE    )
                                     )
22    INSURANCE CO., MORTGAGE        )
23    GUARANTY INSURANCE CORP.,      )             Date: April 16, 2012
                                     )             Time: 2:00 p.m.
      GENWORTH MORTGAGE              )
24
      INSURANCE CORP., REPUBLIC      )             Place: Courtroom 2
25    MORTGAGE INSURANCE CO.,        )                    3470 Twelfth Street, 2nd Floor
                                     )
      RADIAN GUARANTY INC., and      )                    Riverside, CA
26
      TRIAD GUARANTY INSURANCE       )             Judge: The Honorable Virginia A. Phillips
                                     )
27    CORP.                          )
                                     )
28
                     Defendants.     )


                                          PLAINTIFFS’ NOTICE OF MOTION AND MOTION TO STAY ACTION
                                                                         Case No. 5:11-cv-01950 VAP SP
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 1
      TO ALL PARTIES AND THEIR ATTORNEYS OF RECORD
 2
            PLEASE TAKE NOTICE that on April 16, 2012, at 2:00 p.m., or as soon thereafter
 3
      as counsel can be heard, in Courtroom 2 of the United States District Court for the Central
 4
      District of California, located at 3470 Twelfth Street, 2 nd Floor, Riverside, California,
 5
      Plaintiffs Wayne Samp, Roberta Samp, Daniel Komarchuk, Susan Komarchuk, and Annetta
 6
      Whitaker (collectively, “Plaintiffs”), will and hereby do move this Court, by and through
 7
      their undersigned counsel, for an Order granting their Motion to Stay Action as to
 8
      Defendants Mortgage Guaranty Insurance Corp. (“MGIC”), PMI Mortgage Insurance Co.
 9
      (“PMI”), Radian Guaranty Inc. (“Radian”), and Triad Guaranty Insurance Corp. (“Triad”)
10
      pending the United States Supreme Court’s decision in First American Financial Corp. v.
11
      Denise P. Edwards, No. 10-708 (“Edwards”).
12
            As set forth in detail in the accompanying Memorandum of Points and Authorities in
13
      Support of Plaintiffs’ Motion to Stay Action and the Declaration of Edward W. Ciolko,
14
      Plaintiffs seek to extend the stay entered on February 13, 2012 (ECF No. 71) pursuant to a
15
      stipulation between Plaintiffs and Defendants JPMorgan Chase Bank, N.A., Chase Bank
16
      USA, N.A., JPMorgan Chase & Co., Cross Country Insurance Company (collectively,
17
      “JPMorgan”), United Guaranty Residential Insurance Co. (“United Guaranty”), and
18
      Genworth Mortgage Insurance Corp. (“Genworth”) (ECF No. 63), to Defendants MGIC,
19
      PMI, Radian, and Triad pending a decision by the United States Supreme Court in
20
      Edwards.1 As several other courts across the country have determined when granting
21
      motions to stay pending Edwards in analogous actions asserting virtually identical claims to
22
      those asserted by Plaintiffs here,2 the United States Supreme Court’s decision may
23

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25
             Republic Mortgage Insurance Co. recently agreed in principal to enter into a
      stipulation with Plaintiffs to stay this action pending Edwards, similar to the stipulation
26    entered into between Plaintiffs, JPMorgan, United Guaranty, and Genworth. The parties are
27    continuing to negotiate the terms of the stipulation and anticipate filing it shortly.
      2
             See White v. The PNC Financial Services Group, Inc., No. 11-cv-07928 (E.D. Pa.
28
      filed Dec. 30, 2011), Munoz v. PHH Corp., No. 08-cv-0759 (E.D. Cal. filed June 2, 2008),
      Moore v. GMAC Mortgage, LLC, No. 07-cv-04296 (E.D. Pa. filed Dec. 20, 2006), and
                                                   1
                                           PLAINTIFFS’ NOTICE OF MOTION AND MOTION TO STAY ACTION
                                                                          Case No. 5:11-cv-01950 VAP SP
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 1
      materially impact the claims and/or defenses asserted in this action. Accordingly, a stay of
 2
      the entire action as to all parties would promote the orderly administration of justice,
 3
      eliminate serial and/or piecemeal motions to dismiss, and conserve both the Court’s and the
 4
      parties’ resources.
 5
            This motion is made following the conference of counsel pursuant to L.R. 7-3 which
 6
      took place on numerous dates beginning January, 2012.
 7
            This Motion is based on this Notice of Motion and Motion, the accompanying
 8
      Memorandum of Points and Authorities, the Declaration of Edward W. Ciolko, the records
 9
      and pleadings on file in this action, and any arguments of counsel that may be presented to
10
      the Court at the hearing on this Motion.
11
      Dated: March 16, 2012                 Respectfully submitted,
12
                                            ROSMAN & GERMAIN LLP
13

14                                          By: /s/ Daniel L. Germain
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                                                 Terence S. Ziegler
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                                                 Amanda R. Trask
22                                               Michelle A. Coccagna
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26
                                                 BRAMSON PLUTZIK MAHLER &
                                                 BIRKHAEUSER LLP
27
                                                 Alan R. Plutzik
28

      Thurmond v. SunTrust Banks, Inc., No. 11-cv-01352 (E.D. Pa. filed Feb. 25, 2011).
                                                    2
                                            PLAINTIFFS’ NOTICE OF MOTION AND MOTION TO STAY ACTION
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                                       PLAINTIFFS’ NOTICE OF MOTION AND MOTION TO STAY ACTION
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 1
                                   CERTIFICATE OF SERVICE
 2
            I hereby certify that on March 16, 2012, I electronically filed the foregoing with the
 3
      Clerk of the Court by using the CM/ECF system. I certify that all participants in the case
 4
      are registered CM/ECF users and that service will be accomplished by the CM/ECF system.
 5
            I certify under penalty of perjury that the foregoing is true and correct.
 6

 7

 8                                                  /s/ Daniel L. Germain
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                                             PLAINTIFFS’ NOTICE OF MOTION AND MOTION TO STAY ACTION
                                                                            Case No. 5:11-cv-01950 VAP SP
